Case 2:05-mc-70840-
Se et

 

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lawye ura pore <2 QUIT CLAIM DEZD—Stetutory Form
is © Ensurance (or fon “ 216889 CL. 3068, $65,152. MSA. 36572

KNOW ALL MEN BY THESE PRESENTS: Thet MUSA A. JEBRIL and SOUBHTEH JEBRIL, his wife

whove oddres ls -4957 Rosalie Ave., Dearborn, Michigan 126056-.669

Quit Claim(s) t© SOBHIE SAID SALEM, a single woman

« Gg
4637 Palmer Avenue, Dearborn, Michigan ¢$/A

 

 

 

 

 

wheee address is
the following described premises situated lo the City of Dearborn
County of Wayne end Stete of Michigan, to-wit: ©
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Lot 308 of "CLOVERDALE PARK SUBDIVISION’ as recorded in CO
Liber 34, Page 87 of Plats, Wayne County Records. %
Exempt Sec. 207.505a, P.A. 327 of 1968.
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Witnenes: Signed and Sealed:
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Kennet » Lieber Musa A. Jebril
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: ean weesh hn SalAih. Jlal ass
Linda J. McLaughtAn Ud Soubhieh Jebril
(LB)
STATE OF MICHIGAN }
w
COUNTY OF Wayne. ™ (LB)
The focegoing inutrument was acknowledged “before me this 6a dey of October 9 92

by Musa A. Jebril and Soubhieh Jebril, his wife L
M . . :
y commimion expires 913/92 Kennety W. Lieber” yg
County, Michigan

Notery Public

 

 

 

 

 

Deaheaoe Kenneth W. Lieber, Atty~at-Law Business 18708 Ecorse Rd., Allen Park, MI 48101
Recording Fee When recorded eoturn to_GrRestee

 

 

 

Stete Transfer Tax None
Send subsequent tax bills

 

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Tox Parcel #

 

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